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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION

BERTRUM JEAN, Individually and as the                    §
surviving father of BOTHAM SHEM JEAN,                    §
ALLISON A. JEAN, Individually and as the                 §
surviving mother of BOTHAM SHEM JEAN,                    §
and ALLISA E. FINDLEY as the                             §
Administrator of the Estate of                           §             CIVIL ACTION NO.
BOTHAM SHEM JEAN,                                        §
               Plaintiffs,                               §             3:18-CV-2862-M
                                                         §
v.                                                       §
                                                         §
THE CITY OF DALLAS, TEXAS,                               §
and AMBER GUYGER,                                        §
           Defendants.                                   §

     THE DEFENDANT CITY OF DALLAS’S MOTION TO EXTEND THE DEADLINE
              TO FILE ITS REPLY BRIEF, AND BRIEF IN SUPPORT

TO THE HONORABLE COURT:

        The Defendant City of Dallas (“the City”) files this motion to extend the deadline for the

City to file its reply in support of its Rule 12(b)(6) motion to dismiss, to and including Monday,

7 January 2019.

        The Plaintiffs’ counsel has not stated whether the Plaintiffs oppose this motion.

                                I.       SUMMARY OF THE MOTION

        On 29 November 2018, the City filed a motion pursuant to Rule 12(b)(6) to dismiss the

claims alleged against it in the Plaintiffs’ original complaint (ECF No. 7). The Plaintiffs filed a

timely response in opposition to the City’s dispositive motion on 19 December 2018 (ECF No.

9). Per this Court’s local rule, the City’s reply brief is due by Wednesday, January 2, 2019. The

City now moves the Court to extend the deadline for the City’s response by five (5) days, to and

including Monday, 7 January 2019.



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                              II.      ARGUMENT AND AUTHORITIES

A.      Applicable legal standard

        Rule 6(b)(1)(A) of the Federal Rules of Civil Procedure controls extensions of time to file

papers before the time has expired:

             (b) Extending Time.

                 (1) In General. When an act may or must be done within a specified
                     time, the court may, for good cause, extend the time:

                      (A) with or without motion or notice if the court acts, or if a re-
                         quest is made, before the original time or its extension expires.

B.      Facts supporting the extension requested

        Despite diligent efforts, the City requires additional time to file its reply. In addition to

the usual obligations of the holiday season,1 the undersigned has attended to the preparation of an

appellees’ brief to be filed in the Fifth Circuit Court of Appeal in Collette Flanagan et al. v. City

of Dallas et al., No. 18-10334, and final trial preparations in Cassandra Luster et al. v. City of

Dallas et al., No. 3:16cv0396-B, which is set on this Court’s four-week docket beginning on 14

January 2019. These matters, along with several others, have impeded the undersigned’s ability

to complete the City’s reply brief that is the subject of this motion.

C.      Application of the Rule 6(b)(1)(A) factors to this motion

        The City has shown that it has exercised diligence to complete its reply brief by the

existing deadline, but has been unable to meet the deadline because of factors not within the

control of the City or its counsel. The requested extension, of three (3) business days, will not

unduly delay disposition of the City’s dispositive motion. Therefore, the City has shown that

good cause exists to extend the reply brief deadline.


1
  The City’s lead counsel, who is tasked with preparation of the City’s reply brief, was out of the state on holiday
from 19-30 December 2018. The undersigned had limited access to the City’s electronic files during that time.

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        WHEREFORE, the City requests the Court to enter an order extending the deadline as set

out in this motion, and to further enter any orders as are consistent with this motion to which the

City is entitled.

                                                     Respectfully submitted,

                                                     CITY ATTORNEY OF THE CITY OF DALLAS

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                                                     Interim City Attorney

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                                                     ATTORNEYS FOR THE DEFENDANT
                                                     CITY OF DALLAS

                                  CERTIFICATE OF CONFERENCE

       I certify that on 31 December 2018 and on 2 January 2019, I attempted to confer with
counsel for the Plaintiffs, Daryl K. Washington, regarding the merits of this foregoing motion.
As of the filing of this motion, I have not received a response from Mr. Washington. Therefore,
I assume that the Plaintiffs oppose the relief requested.

                                                     s/ J. G. Schuette
                                                     Senior Assistant City Attorney




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                                      CERTIFICATE OF SERVICE

        I certify that 2 January 2019, I electronically filed the foregoing document with the clerk
of the court for the U.S. District Court, Northern District of Texas, using the electronic case
filing system of the court. The electronic case filing system sent a “Notice of Electronic Filing”
to the following attorneys of record who have consented in writing to accept this Notice as
service of this document by electronic means:

Daryl K. Washington
Law Office of Daryl K. Washington, P.C.
325 N. St. Paul St., Suite 3950
Dallas, Texas 75201

                                                     s/ J. G. Schuette
                                                     Senior Assistant City Attorney




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